













Opinion issued June 23, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-05-00478-CV
____________

RDV CONSTRUCTION, INC., Appellant

V.

GWENDOLYN SHAW AND ROBERT HARVILL, Appellees




On Appeal from the 152nd District Court
Harris County, Texas
Trial Court Cause No. 2003-00446




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss its appeal.  The motion is unopposed. 
No opinion has issued.  Accordingly, the motion is granted, and the appeal is
dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Nuchia, Keyes, and Bland.


